I dissent. Section 7016, Revised Codes, quoted in the majority opinion, provides in part that, "A will is to be construed according to the intention of the testator." The will of George O. Yergy expresses but two intentions: First, the use of all of his estate by his wife, Mary Alice Yergy, during her natural life, with liberal management granted to her; and, second, upon her death the remainder to go to his heirs. The cost of the management of her own private estate, inherited by her heirs, was not essential to the full and complete enjoyment of the life estate bequeathed to her by her husband and was an infringement upon the life estate and the rights of the remaindermen, to the extent of the cost of such management.
Rehearing denied June 1, 1938, MR. JUSTICE MORRIS dissenting. *Page 516 